                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE STATE OF ALASKA


SANDRA ALCORN,                  )
                                )
                                )
             Plaintiff,         )
                                )
v.                              )
                                )
LAW OFFICES OF KRISTA L. WHITE )) Case No. 3:15-cv-00004-SLG
& ASSOC. and KRISTA L. WHITE    )
                                )

                                       ORDER

       Upon consideration of the parties’ Stipulation (Docket 24), the Court

hereby APPROVES the stipulation.

       IT IS HEREBY ORDERED that the above-captioned action is dismissed

with prejudice and except as provided in paragraph 6.B of the Stipulation, each

party is to bear its own attorney fees and costs.

       DATED this 26th day of March, 2015.

                                           /s/ Sharon L. Gleason
                                           UNITED STATES DISTRICT JUDGE




  Case
DWT      3:15-cv-00004-SLG
    26450623v4 0093176-000016   Document 25 Filed 03/27/15 Page 1 of 1
